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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Whiteamire Clinic, P.A., Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:12−cv−05490
                                                          Honorable Andrea R. Wood
Quill Corporation, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 6, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: The parties electronic
request to maintain stay pending Seventh Circuit's decision is granted. Case remains
stayed until further order of Court. If the Seventh Circuit issues a decision, the parties
shall notify the Court of the decision within 3 business days. Status hearing set for
11/8/2018 is stricken and reset for 2/12/2019 at 09:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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